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                    UNITED STATES MAGISTRATE COURT

                         DISTRICT OF NEW JERSEY




UNITED STATES OF ANERICA

                                            ORDER MODIFYING CONDITIONS
             V.                               OF RELEASE

                                             Crim. No.    16-181

MAURICE GREEN




        This matter having come before the Court on the             application

of defendant, Maurice Green,         C by Dennis S.     Cleary, Attorney for

Defendant)    for an Order modifying conditions of release in the

above captioned matter, and Pretrial Services having consented

thereto and the United States         C by Joshua Hafetz               Assistant

U.S. Attorney)    taking no position, and for good cause shown;

        IT IS on this    l      day of   A’-j   ,   2016, HEREBY ORDERED:

that

1.     The defendant shall be permitted attend a family reunion at

516 Bergen Street, Newark, NJ on Saturday, August 13,               2016 and

return home immediately after the reunion.               Defendant shall be

permitted to leave his residence no earlier than 400pm and

return no later than 10:00 pm on the above date.
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       2.   All other conditions of bail remain intact.




                                  UNITED S     ES MAGISTRATE JUDGE
Consented to:




U.S.   Pre rial Services
                                                           RECEIVED IN THE CHAMBERS OF

                                                                 AUG 11 2016
                                                       TIME:
                                                       HONNCMANNIQNUSM
Dennis Cleary,    Esq.




Assistant United States Attorney
